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                             UNITED STATES DISTRICT COURT
                            SOUTHERN DISTRICT OF FLORIDA
                       CASE NO. 2:17-CV-14302-ROSENBERG/MAYNARD


  DENNIS MCWILLIAMS,
  LORI MCWILLIAMS,

         Plaintiffs,

  v.

  NOVARTIS AG, a global healthcare company,
  NOVARTIS PHARMACEUTICALS CORPORATION,
  a Delaware corporation,

         Defendants.
   __________________________________________________/

              ORDER GRANTING IN PART AND DENYING IN PART
       DEFENDANT’S MOTION TO EXCLUDE TESTIMONY OF DR. SONAL SINGH

         THIS CAUSE is before the Court on Defendant’s Motion to Exclude Testimony of Dr.

  Sonal Singh. DE 56. Defendant seeks to exclude the testimony of Plaintiffs’ general causation

  expert, Dr. Sonal Singh. According to Plaintiffs, Dr. Singh, an epidemiologist, conducted a

  review of the literature concerning Tasigna and its potential link to vascular disease; found a

  statistically significant association between Tasigna and all vascular disease after applying a

  meta-analysis across data from four randomized clinical trials; and, after applying the Bradford

  Hill causation factors, concluded to a reasonable degree of scientific certainty that Tasigna

  causes vascular occlusive disease. DE 65. Dr. Singh ultimately reached the conclusion that “to a

  reasonable degree of scientific certainty, [] nilotinib causes the development of atherosclerotic-

  related cardiovascular events, including peripheral arterial occlusive disease, ischemic heart

  disease, and stroke, among patients with chronic myeloid leukemia (‘CML’).” DE 56-3 at 2.
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         The Court has carefully reviewed Defendant’s Motion, DE 56, Plaintiffs’ response, DE

  65, Defendant’s reply, DE 74, and is otherwise fully advised in the premises. For the reasons set

  forth below, Defendant’s Motion is granted in part and denied in part.

  I.     FEDERAL RULE OF EVIDENCE 702 AND THE DAUBERT STANDARD

         Rule 702 of the Federal Rules of Evidence provides:

                 If scientific, technical, or other specialized knowledge will assist
                 the trier of fact to understand the evidence or to determine a fact in
                 issue, a witness qualified as an expert by knowledge, skill,
                 experience, training, or education, may testify thereto in the form
                 of an opinion or otherwise, if (1) the testimony is based upon
                 sufficient facts or data, (2) the testimony is the product of reliable
                 principles and methods, and (3) the witness has applied the
                 principles and methods reliably to the facts of the case.

  Fed. R. Evid. 702. The proponent of the expert testimony bears the establishing its admissibility.

  McDowell v. Brown, 392 F.3d 1283, 1298 (11th Cir. 2004). In determining whether expert

  testimony and any report prepared by the expert may be admitted, the Court inquires whether (1)

  the expert is qualified to testify competently regarding the matters he intends to address; (2) the

  methodology by which the expert reaches his conclusions is sufficiently reliable; and (3) the

  testimony assists the trier of fact, through the application of scientific, technical, or specialized

  expertise, to understand the evidence or to determine a fact in issue. United States v. Frazier, 387

  F.3d 1244, 1260 (11th Cir. 2004) (quoting City of Tuscaloosa v. Harcros Chems., Inc., 158 F.3d

  548, 562 (11th Cir. 1998) (citing Daubert v. Merrell Dow Pharms., Inc., 509 U.S. 579, 589

  (1993))).

         Under Daubert, district courts are to perform a “gatekeeping” role concerning the

  admission of expert testimony. Daubert, 509 U.S. at 592–93; Kumho Tire Co. v. Carmichael,

  526 U.S. 137, 150–52 (1999). “The Supreme Court did not intend, however, that the gatekeeper

  role supplant the adversary system or the role of the jury: vigorous cross-examination,



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  presentation of contrary evidence, and careful instruction on the burden of proof are the

  traditional and appropriate means of attacking shaky but admissible evidence.” McDowell, 392

  F.3d at 1299 (citations omitted).

  II.    ANALYSIS

         Defendant first argues that Dr. Singh’s meta-analysis should be excluded because (1) he

  did not follow his own standard methodology and (2) his meta-analysis relies on unsupported

  assumptions and methodologic errors. Defendant then argues that the inadmissibility of Dr.

  Singh’s meta-analysis renders his other opinions inadmissible.

         I.      Dr. Singh’s Meta-Analysis

         When Dr. Singh conducts a meta-analysis for publication, his general procedure is to

  “conduct[] a systematic search of publicly available literature, review[] the results to determine

  which publications are relevant to his analysis, then extract[] data from those publications and

  finally perform [] a statistical analysis on that data.” DE 56 at 6 (citation omitted).

                 a. Dr. Singh’s Methodology

         Defendant argues that Dr. Singh did not follow his own standard methodology. First,

  Defendant notes that, unlike when he prepares a meta-analysis for publication, Dr. Singh did not

  employ a second scientist to perform the meta-analysis. DE 56 at 6–7. While Dr. Singh normally

  collaborates with a second scientist, the fact that he did not in this case does not necessarily make

  his methodology unreliable.

         Defendant also notes that Dr. Singh has never before prepared a meta-analysis for the

  purpose of litigation and that he has not submitted for publication any paper related to his meta-

  analysis in this case. DE 56 at 7. As other courts have noted, an expert’s unwillingness to publish

  could weigh against the admissibility of the expert’s opinions. See Daubert v. Merrell Dow




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  Pharms., Inc., 43 F.3d 1311, 1318, n. 9 (9th Cir. 1995) (Daubert II). (“That plaintiffs' experts

  have been unable or unwilling to publish their work undermines plaintiffs' claim that the findings

  these experts proffer are ‘ground[ed] in the methods and procedures of science’ and ‘derived by

  the scientific method.’”). However, “[t]here may well be good reasons why a scientific study has

  not been published.” Id. “[T]he standards for courtroom testimony do not necessarily parallel

  those of the professional publications.” Wendell v. GlaxoSmithKline LLC, 858 F.3d 1227, 1236

  (9th Cir. 2017) (citing Ambrosini v. Labarraque, 101 F.3d 129, 138 (D.C. Cir. 1996)).

         Here, the Court finds that the fact that Dr. Singh has not published his opinions does not

  render his testimony inadmissible. The Court’s gate-keeping role under Daubert is to ensure that

  only expert testimony that is reliable is admitted. The Court finds that Dr. Singh’s methodology

  is sufficiently reliable. As detailed in his report, Dr. Singh did a systematic review of all of the

  literature available based on search terms that he developed; he categorized all of the data that

  was available to him from peer-reviewed sources; he looked at the data from the clinical trials

  and the observational studies; and, he analyzed all of this data to reach a conclusion about the

  relationship between Tasigna and atherosclerotic-related cardiovascular events. See DE 56-3.

  Thus, because Dr. Singh’s methodology is sufficiently reliable, the fact that he has not sought to

  publish his work does not render his opinions inadmissible in this case.

                 b. Dr. Singh’s Assumptions

         In his meta-analysis, Dr. Singh considered four, non-blinded clinical trials which

  compared patients treated with Tasigna to patients treated with Gleevec. Defendant makes four

  arguments as to errors it argues Dr. Singh made. Defendant argues that: (1) Dr. Singh failed to

  take into account the adjudication of patient-level data; (2) Dr. Singh failed to take into account

  that Gleevec may be cardio-protective; (3) Dr. Singh failed to distinguish between




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  cerebrovascular and other adverse events; and (4) Dr. Singh’s meta-analysis only relied on non-

  blinded clinical trials. DE 56 at 8–17. The Court will address each argument in turn.

                        i.      Patient-Level Data

         Defendant argues that Dr. Singh did not account for the potential misclassification of

  adverse event reports in his meta-analysis. DE 56 at 8–11. Defendant argues that, during clinical

  trials, adverse events may be misclassified by the study physician as the wrong injury; if the

  events are misclassified, the events would no longer offer support for Dr. Singh’s analyses. Id. at

  5. Defendant notes that in 2014 it convened a panel of outside cardiovascular experts to review

  the adverse events that Dr. Singh relies upon in his meta-analysis. Id. at 9. The “experts

  concluded that only 29 of the 63 adverse events could be fully confirmed as cardiovascular

  events and two others were only partially confirmed. The remaining events (more than half of the

  total relied on in Dr. Singh’s analysis) could not be confirmed to be cardiovascular events.” Id.

  Defendant notes that Plaintiffs’ counsel was aware of this determination but did not make Dr.

  Singh aware. Id.

         Plaintiffs respond that:

         as [Dr. Singh] does in every systematic review and meta-analysis, he only
         considered verified information obtained from reliable public sources.
         Specifically, Novartis claims he should have considered certain meeting minutes
         of an internal Novartis-sponsored committee that, many years after the fact,
         Novartis convened to provide a second opinion on the classification of vascular
         events determined by clinical investigators in its clinical trials. Notably, the
         committee confirmed half of the events were properly classified, but were unable
         to obtain sufficient data to form an opinion on the others. They did not identify
         any events that were misclassified.

  DE 65 at 9–10. Plaintiffs note that Dr. Singh did not rely on Plaintiffs’ counsel for any material

  but rather conducted his own independent evaluation of the peer reviewed literature. Id. at 10.




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         The Court agrees with Plaintiffs. As is his standard procedure, Dr. Singh conducted an

  independent review of the available literature and looked at published and verified literature. See

  DE 56-3. It would be more concerning to the Court if he did not follow his standard procedure

  and instead relied upon information provided by counsel. Additionally, as Dr. Singh pointed out

  in his deposition, the conclusion of the independent experts would not impact his review of the

  data. See DE 56-2 (“They were classified as cardiovascular events because that’s what the

  primary studies by report of the New England Journal. So unless I view those as falsification of

  data, which they aren’t, then those are cardiovascular events.”).

                         ii.    Gleevec as a Comparator

         As both parties note, “it is unethical for Tasigna clinical trials to be designed with a

  placebo control; instead, the clinical trials involve comparisons between Tasigna and Gleevec.”

  DE 65 at 11. Defendant argues, however, that Dr. Singh “failed to address the growing body of

  evidence that Gleevec® may be cardio-protective, which would make it an improper comparator

  for his meta-analysis.” DE 56 at 11. Plaintiffs respond that “Dr. Singh did consider this

  hypothesis, and he found it unsupported and discredited by objective evidence.” DE 65 at 11. Dr.

  Singh did consider the Giles et al. study that Defendant notes and found it to suffer from several

  flaws that it made its conclusions unreliable. See DE 56-3 at 24–25. As Plaintiffs note, Dr. Singh

  also considered studies that show that the rate of vascular events is higher in patients taking

  Tasigna than in the general population. See DE 65 at 12–13.

                         iii.   Cerebrovascular and Other Adverse Events

         Defendant argues that Dr. Singh’s meta-analysis is flawed because he failed to

  distinguish between cerebrovascular and other adverse events. DE 56 at 15–16. Defendant states

  that the only adverse event relevant to his litigation is stroke, a cerebrovascular event, and that




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  only two of the four studies on which Dr. Singh relied reported cerebrovascular events. Id.

  Defendant argues that Dr. Singh is conflating findings about peripheral arterial occlusive disease

  and heart events to cover cerebrovascular events as well. Id. at 16. Thus, Dr. Singh’s analysis is a

  poor fit for this case. Id.

          Plaintiffs respond that “[t]his argument is meritless because the literature, health agency

  reports, and warning labels consistently address all vascular events as a group, implicating a

  global problem of accelerated atherosclerosis associated with Tasigna that can attack any number

  of vascular beds.” DE 65 at 14.

          The Court agrees with Plaintiffs. As Dr. Singh explains:

          Atherosclerosis is an arterial disease which is one of the leading causes of death in
          the United States. High quantities of LDL cholesterol are considered one of the
          principal risk factors of the disease, although inflammation may also play a role.
          The lesions of atherosclerosis occur in the large and medium sized arteries of the
          heart, brain and extremities which can lead to myocardial infarction, stroke and
          peripheral arterial disease. The risk factors for atherosclerosis include
          hyperlipidemia and diabetes as well as genetic predisposition for the disease.

  DE 56-3 at 6 (citing Russell Ross, Atherosclerosis—An Inflammatory Disease, 340 N. Engl. J.

  Med., 115, 115–26 (1999)). In the article cited by Dr. Singh, Dr. Ross explains that “[t]he lesions

  of atherosclerosis occur principally in large and medium-sized elastic and muscular arteries and

  can lead to ischemia of the heart, brain, or extremities, resulting in infarction.” Ross, supra, at

  115. Atherosclerosis can manifest itself in various different problems. Accordingly, the fact that

  Dr. Singh looks at the larger problem of atherosclerosis—rather than only looking at incidence of

  stroke or other cerebrovascular events—does not render his report unreliable.

                           iv.   Non-blinded Clinical Trials

          Defendant argues that Dr. Singh’s meta-analysis is unreliable because the four

  randomized clinical trials on which he relied were not blinded and Dr. Singh made no effort to




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  evaluate whether there was any bias in the results due to the fact that the studies were not

  blinded. DE 56 at 16–17. Plaintiffs respond that randomized clinical trials are the gold standard

  for evaluating whether a drug is related to the risk of an adverse condition and the fact that the

  trials were not blinded does not remove the studies from the gold standard of randomized clinical

  trials. DE 65 at 14–15.

         The Court finds that the fact that the studies on which Dr. Singh relied were not blinded

  does not make Dr. Singh’s meta-analysis unreliable. Dr. Singh only relied upon randomized

  clinical trials, “the ‘gold standard’ for determining whether a drug is related to the risk of

  developing an adverse health outcome.” See In re Bextra and Celebrex Mktg. Sales Practice and

  Prod. Liab. Litig., 524 F. Supp. 2d 1166, 1173 (N.D. Cal. 2007). While a blinded study may be

  the ideal to eliminate the risk of bias by the evaluating physicians, that the randomized clinical

  trials on which Dr. Singh relied were not blinded does not make his meta-analysis unreliable.

         II.     Dr. Singh’s Bradford-Hill Analysis

         After his meta-analysis, Dr. Singh conducted a Bradford-Hill analysis to assess causation.

  “Sir Bradford Hill was a world-renowned epidemiologist who articulated a nine-factor set of

  guidelines in his seminal methodological article on causality inferences. The Bradford Hill

  criteria are nine factors widely used in the scientific community to assess general causation.”

  Jones v. Novartis Pharm. Corp., 235 F. Supp. 3d 1244, 1267 (N.D. Ala. 2017) (citations

  omitted). “While the Eleventh Circuit has not yet directly commented on the Bradford Hill

  criteria, the reliability of the methodology is strengthened by the number of other circuit courts

  and district courts within this Circuit who have approved of an expert’s use of the criteria.” Id. at

  1268. “[T]he Bradford Hill factors cannot be applied without first establishing a causal

  association.” Id.




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         Defendant argues that Dr. Singh’s Bradford-Hill analysis should be excluded because a

  Bradford-Hill analysis to determine causation is only appropriate after finding a statistically

  significant association. DE 56 at 17. Defendant argues that because Dr. Singh’s meta-analysis is

  unreliable, his Bradford-Hill analysis also must be rejected. As Dr. Singh found a statistically

  significant association, DE 56-3 at 6–12, and the Court found that Dr. Singh’s meta-analysis is

  reliable, Dr. Singh’s Bradford-Hill analysis is admissible.

         III.     Dr. Singh’s Characterization of the Atherosclerosis-Related Conditions as
                 “Severe” or “Rapidly Progressive”

         Defendant seeks to exclude Dr. Singh’s opinion that Tasigna is causally related to

  development of atherosclerosis-related conditions that are “severe” or “rapidly progressive.” DE

  56 at 17–19. Defendant notes that the only time Dr. Singh describes the atherosclerosis-related

  conditions as “rapidly progressive” is in the first sentence of his report. Id. at 17–18. Defendant

  also points to Dr. Singh’s deposition in which he “acknowledge[s] that he has no statistical

  support for an opinion that Tasigna® is associated with atherosclerosis that is ‘rapidly

  progressive.’” Id. at 18 (citing DE 56-2 at 35:18–36:2; 39:24–40:12). Plaintiffs did not respond

  to this argument. See DE 65. Accordingly, the Court agrees with Defendant that Dr. Singh

  cannot testify that Tasigna is causally associated with atherosclerosis characterized as “severe”

  or “rapidly progressive.”




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   III.    CONCLUSION

           For the foregoing reasons, it is hereby ORDERED AND ADJUDGED that Defendant’s

   Motion to Exclude Testimony of Dr. Sonal Singh [DE 60] is GRANTED IN PART AND

   DENIED IN PART. Dr. Singh is permitted to testify; he may not, however, testify that Tasigna

   is causally associated with atherosclerosis characterized as “severe” or “rapidly progressive.”

           DONE and ORDERED in Chambers, West Palm Beach, Florida, this 9th day of July,
   2018.

                                                        _______________________________
                                                        ROBIN L. ROSENBERG
   Copies furnished to:                                 UNITED STATES DISTRICT JUDGE
   Counsel of Record




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